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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                               Plaintiff,             Case No. CR13-206-JLR

10          v.                                          DETENTION ORDER

11 HEATHER CHANCEY, aka HEATHER LEE
   SLATER,
12
                                 Defendant.
13
   Offenses charged:
14
               • Conspiracy to Unlawfully Deal in Firearms,
15             • Unlawful Dealing in Firearms,
               • Felon in Possession of Firearms,
16             • Distribution of Methamphetamine, and
               • Possession of a Firearm during and in Relation to a Drug Trafficking Crime.
17
   Date of Detention Hearing: July 11, 2013.
18
           The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
19
   and based upon the factual findings and statement of reasons for detention hereafter set forth,
20
   finds that no condition or combination of conditions which the defendant can meet will
21
   reasonably assure the appearance of the defendant as required and the safety of any other person
22
   and the community.
23



     DETENTION ORDER - 1
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 1         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2          Defendant is charged with an offense which carries the presumption of detention and has

 3 not overcome that presumption. Defendant is charged with serious offenses and if convicted

 4 faces a lengthy prison term. She has a strong incentive to flee. Defendant has a long criminal

 5 history, has failed to comply with past court orders, and has had problems on prior terms of

 6 supervision. Defendant has severe long term substance abuse problems.

 7          It is therefore ORDERED:

 8          (1)    Defendant shall be detained pending trial and committed to the custody of the

 9 Attorney General for confinement in a correctional facility separate, to the extent practicable,

10 from persons awaiting or serving sentences, or being held in custody pending appeal;

11          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

12 counsel;

13          (3)    On order of a court of the United States or on request of an attorney for the

14 Government, the person in charge of the correctional facility in which Defendant is confined

15 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

16 connection with a court proceeding; and

17          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

18 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

19 Officer.

20          DATED this 11th day of July, 2013.

21

22                                                        A
                                                          BRIAN A. TSUCHIDA
23                                                        United States Magistrate Judge



     DETENTION ORDER - 2
